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IN 'l`I-IE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORlDA
'I`AMI’A DIVISION

ln rc: Chapter 7

FRANKS, JAMES ALMON Casc No. 3214-bk-l0869-RCT
FRANKS, FRANKIE INI`;`Z

Debtor(s).

 

JOIN'I` MOTION AND NOTICE OF l’ROI’OSED
COMI’ROMISE OF CONTROVERSY BETWEEN
'I`HE TRUSTEE ANI) \VF,LLS FARGO BANK, N.A.

 

NOTIC[~`. OF OPPORTUNITY TO
OBJECT ANI) FOR l~IEARlNG

 

Pursunnt to Local Rulc 2002»4, the Court will consider the reliet` requested in this paper without leather
notice or hearing tmless a party in interest liles a response within twenty-one (21) days l`rom the date set
forth on the attached proofof` service, plus an additional three days l`or service if`any party was served
by U.S. Mail.

l|` you object to the rclicl` requested in this paper, you must file a response with the C|erk ol`thc Cout'l at
Sam M. Gibbons U.S, C`ourthonse, 301 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899, and serve
a copy on the movant's attorney, Douglas N. Menehise, Esquire, 2963 Gull`lo Bay ISlvd., Suite 300,
C|ear\vater, FL 33759. and any other appropriate persons within t|\.e time allowcd. [f`_vou file and serve
a response within the time permitted, the Cotlrt will either schedule and notify you of`a hearing or consider
the response and grant or deny the reliefrcquested without a hearing

lt`you do not file a response within the time perrnittcd, the Court will consider that you do not oppose the
relief requested in the paper, will proceed to consider the paper without further notice Ot‘ ltearing, and may
grant the reliei`requested.

 

 

 

COMES NOW the Trustee, Douglas N. Menchise_. and Wells Far;_ro Bank, N.A.
("`Wells liargo”), by and through their respective attorneys, and hereby tile this .loint
Motion and Notice ot` I’roposed Comprornise ol`Controversy between the 'Fi'ttstce, Douglas
N. l\/Ienehise, and Wclls Fat'go Bank, N.A., and hereby give notice to parties in interest,
pursuant to Local Rule 2002-4, that the parties are hereby moving the Cout't to enter an

Ordcr approving a proposed compromise oi`eontroversy between the Trustee, Douglas N.

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l`v‘lenchise, and Wells Fargo.

Baekground of the Controversv:

 

l . On September 16_. 2014, Jantes Almon Franks and Frankie Inez Franks (the

"Debtors") filed his voluntary petition under Chapter ?` 01" Titlc l l of the United States

Code.
2. Douglas N. l\/Ienehise is the duly appointed and acting Trustee.
3. On April ¢l, 1983, Mr. and Mrs. .]ames A. Franks (the Debtors) purchased

the real property located 16202 Parkside Drive, Tampa_. FL 33624 (the "Real Property"),
subject to a mortgagel

4. On Mareh 26_. 2013_. James A. I~`ranks refinanced the real property by
executing a Note and Mortgage in l"avor oi` Wells Fargo in the amount 01`$156,653.00. Tlte
Note and Mortgage referred to the MortgagorfDebtors as _lanies A‘ Franks, a Married
Person, as his separate and non-homestead propertyl ('l"he “Mortgage"’). 'l`he Co-Debtor
Spouse Frankie lnez Fanks did not execute the note and mortgage

5. 'I`he Mortgage soon thereafter went into default and on October 13, 2014,
Wells i:argo Banl-t, N.A. tiled a Motion for Relief front the Automatie Stay (Doc #IO) to
enforce its Mortgage Lien on the Real Propcrty.

6. On November 18, 2014, the Cotu't granted Wells Fargo"s motion i`or stay
reliel`to enforce its lien on the Reai Property (Doc #13).

7. 'l`ltat On or about .lanual'y 16, 2015, Wclls liargo commenced its foreclosure

action in the Circuit Court in and l`or Hillsborough County_. Florida, in re: Weils Fargo

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Bank, N.A., versus .lames A. Franks, et al, Case Number lS-CA-UOUSOG.

8. 'l`hat title issues prevented the progress of Wcl[s Fargo’s l`oreclosure action.

9. That on .Ianuary 10, 2018, citing, a bona tide dispute between the Trtlstee
and We|ls Fargo on the enforceability ol" the mortgage, the Trustee liled his motion i`or
authority to sell the Real I’roperty f`ree and clear ol`liens (Doc #67).

lO. That on February 22, 2018, the Court granted the 'I`rustee’s motion for
authority to sell the property i`ree and clear ofliens per l l U.S.C § 363(1](5) with all liens
attaching to any sale proceeds (Doc #79`).

l l. On January lt)_. 2018, the 'l`rustee filed Adversary Proceeding number 3:18-
ap-OO[)OB-RCT against Wells Fargo Banl<, N.A., seeking, inter alia to avoid the Wells
Fargo mortgage on the Real I)roperty.

12. 'I`hat Wells Fargo dismissed the I»Iillsborough Circuit Court Action Case
No. 15-C A-OOOSOG, and filed their Answer and Dcfenses to the Complaint in adversary
8:18-ap~00{)08, alleging a valid lien pursuant to Florida law, and the Doetrine ot` Equitable
Subrogation.

Pronosed Comnromise:
13. Without admitting or denying the viability ot` each party’s legal positions,
the Trustee and Wells Fargo have agreed to settle this adversary S:IS-ap-OOOUS-RCT as

follows:

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a. That the Trustee shall sell the Real Property to Wells Fargo l`or the
net sum oi` 355,000.00, with Wells Fargo paying all closing costs,
back taxes, l-lOA l`ees, etc., associated with the sale!purchase ol`thc
Real Property.

b. That the sale shall be free and clear ot` liens and encumbrances per
the February 22, 2013, Court Ordcr (Doc #79).

c. 'l`hat Wells Fargo waives any claim it has or may have against the
Trustee andfor the bankruptcy cstate, including any right to receive
a distribution t`rom the Bankruptcy Estate.

d. That each party shall pay their own attorncys" fees and costs
associated with this bankruptcy case, the adversary proceedin t, as
well as any underlying cause ol`action.

Whv the l’roposed Settlemcnt is in the best Interest of the Estate:
14. 'l`he Trustee feels that the proposed settlement is in the best interest ot` the
Estate. since it resolves the pending litigation without additional l`ces or costs, brings
555,000.00 into the estate, and resolves the disputed claim that Wells Fargo may have
against the Banl<ruptcy Estate.

WHEREFORE, the Trustee and Wells Fargo move this l~lonorable Court grant

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this motion to compromise and approve tlte above settlement between the 'Fl'ustee and

Wells Fargo Bank_. N.A.

Dated: %_ 3 "' l §

 

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this motion compromise and approve the above settlement between the 'I`rustee and Wells

Fargo Bank, N.A.

Dated: 8“ B”l cg

/l>..-qL.- “LQ

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CERTIFICATE OF SERVICE
l HEREBY CERTIFY that true and correct copies ol`the ioregoing were delivered via
. Cl'vl/ECF to the Ot"i`rce ot`the United States ’l`rustee; Debtor’s Attorney, Her|:) Donica, Esquire;
Wel|s Fargo Bank N.A.`s Attorneys, Jacqueline F. Kuyl<, lisquire, and Martin S. Awerbach,
Esquire; and all other electronic tilch in this case: and by UNITED STATES MAIL to the
Debtors, .lames Almon l"ranks and Frankie [nez Franl<s, 42]5 l-lol|owtrai| Drive, 'l`ampa, FL

33624: and all parties on thc Court`s Mai|ing Matrix attached herelo,

on .lu|y3l,20]8.

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